UNITED STATES DISTRICT COURT

DISTRICT OF MINNESOTA

 

CustomAir Ambulance, LLC,
as assignee of Laura D. Olsen,

 

 

 

Case No.:
Plaintiff,
vs.
PLAINTIFF’S COMPLAINT
Lund Foods Holdings, Inc. Health
Care Plan; Lund Foods Holding, Inc.;
and Medica Insurance Company and
Medica Health Management, LLC,
Defendants.
INTRODUCTION

This is a claim for benefits due under an ERISA-governed health insurance
plan. Plaintiff, as assignee of the insured under the insurance policy, seeks
reimbursement for emergency fixed-air transport from the Mayo Clinic in
Rochester, Minnesota, to the Rockville Walden Center in Vernon, Connecticut.
One issue in the case involves the definition of an “emergency” under the plan
and, more specifically, Whether Defendants improperly refused to apply the
“prudent layperson” standard laid out by the plan in assessing the need for

transport. A second issue involves Defendants’ method of calculating the

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reimbursement, where the plan administrator purported to utilize a nationwide
marketplace standard, but then instead reimbursed based on in-network contracts.
Plaintiff claims these failings amounted to abuses of discretion such that the
denial of benefits was wrongful. Moreover, based on procedural irregularities, a
de novo standard of judicial review Should apply.

THE PARTIES

l. Plaintiff CustomAir Ambulance, LLC (“CustomAir”) is the
contractual assignee of all legal claims, causes of action, rights and damages
resulting from Defendants as alleged herein. CustomAir was a provider of health
care services to assignor Laura Olsen. Laura Olsen, who is over the age of 18, was
the insured and “beneficiary,” the daughter of a “participant” of the insurance plan
as alleged herein. CustomAir and Laura Olsen may be referred herein collectively
as “Plaintiff.”

2. Defendant Lund Food Holdings, Inc., (“Lund”) is a Minnesota
corporation authorized and existing pursuant to the laws of Minnesota. Lund is the
sponsor and the plan administrator of, and controls and can direct payment from,
of the Lund Foods Holdings, Inc. Health Care Plan (the “Plan”).

3. Defendants Medica Insurance Company and Medica Health
Management, LLC, are Minnesota business entities authorized and existing
pursuant to the laws of Minnesota. These entities are referred herein collectively

as “Medica.”

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4. The Plan is an employee welfare benefit plan within the meaning of
the Employee Retirement Income Security Act of 1974 (“ERISA”), found
generally at 29 U.S.C. § 1001 et seq. The Plan is a self-insured medical plan
generally intended to meet the requirements of lntemal Revenue Code sections
106 and 105(h). Medica is the claims administrator of the Plan.

VENUE AND JURISDICTION

5. Plaintiff has exhausted all Plan administrative procedures prior to
initiating this lawsuit (the “Lawsuit”).

6. This Complaint arises under ERISA and the principles of federal
common law developed thereunder.

7. This Court has jurisdiction pursuant to the jurisdictional provision of
ERISA, 29 U.S.C. §1132(e)(l), and federal question jurisdiction under 28 U.S.C.
§1331.

8. Venue is proper in this district pursuant to 29 U.S.C. §1132(e)(2)
because this is the district where the plan was administered, where the breach took
place, and where Defendants may be found.

FACTS / BACKGROUND
The Plan and Its Terms
9. Darlene Olsen was at a11 material times hereto a Plan participant
10. Laura Olsen is Darlene Olsen’s daughter.

11. Laura Olsen was at all times material hereto a Plan beneficiary.
3

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12. The Plan terms are set forth in a lengthy written document

13. During the claims process, Medica produced what is purported to be
the Plan document.

14. The Plan was executed and adopted by the sponsor’s senior director
of human resources and was effective no later than January l, 2016.

15. The Plan provides coverage for “ambulance” services. (Plan doc., p.
20).

l6. “Emergency” ambulance services are covered as an “in-network”
benefit, which provides for a 20 percent coinsurance. “Non-emergency”
ambulance services are covered with a 40 percent coinsurance.

17. According to Medica, to be covered as an in-network benefit, the
transport must be “medically necessary” and an “emergency.” (Plan doc., 107,
109)

18. An “emergency” is defined by the Plan as: “A condition or symptom
(including severe pain) that a prudent layperson, who possesses an average
knowledge of health medicine, would believe requires immediate treatment to: (l)
preserve your life; or (2) Prevent serious impairment to your bodily functions,
organs or parts; or (3) prevent placing your physical or mental health (or, if you
are pregnant, the health of your unborn child) in serious jeopardy.” (Plan doc.,
107)

19. The Plan sets forth timing for submission of a claim and appeals. The
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Plan requires a participant / beneficiary to proceed only to a first level appeal. All
other review(s) of a claim denial are non-mandatory. (Generally, Plan doc., 100-
01).

The Emergencv Transport

20. CustomAir offers its patients worldwide air ambulance transport.

21. On September 20, 2016, Darlene Olsen contacted CustomAir.

22. Darlene Olsen had been advised by medical professionals that Laura
Olsen was in need of medically necessary, emergency transportation from
Minnesota’s Mayo Clinic in Rochester, Minnesota, to the Rockville Walden
Center in Vernon, Connecticut. CustomAir contacted the Mayo Clinic case
manager for Laura Olsen, who confirmed that Laura Olsen needed medically
necessary, emergency transportation

23. CustomAir contacted Medica, which acknowledged the medical
necessity and emergent nature of the transportation and authorized insurance
coverage for the flight.

24. Based on the medical information conveyed to Darlene and Laura
Olsen, and based on their historical and personal knowledge of Laura Olsen’s
medical situation, and with an average knowledge of health medicine, the Olsen’s
understood that the need for a medical transport represented an “emergency,” as
would a prudent layperson with average knowledge of health medicine.

25. On September 21, 2016, CustomAir transported Laura Olsen.
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26. Thereafter, the Olsens timely and pursuant to Plan terms submitted a
claim for benefits under the Plan. Medica initially denied the claim entirely.

27. Thereafter followed multiple appeals.

28. In a January 3, 2017, “amended letter,” Medica made reference to a
November 18, 2016, appeal, originated by Dr. Aditya Devalapalli. Medica denied
that appeal.

29. The Olsens also filed an appeal, on December 2, 2016. That appeal
was apparently denied on December l4, 2016.

30. The Olsens submitted what was mis-identified as a “request for
reconsideration of appeal,” which in fact apparently was the third appeal at that
point.

The Final Appeals Denial(s)

31. In a March 14, 2017, letter, Medica reversed course in part, but still
denied the substance of the claim for coverage.

32. Medica agreed that the September 21, 2016 transport was medically
necessary under the Plan.

33. The only basis for the denial of in-network benefits according to
Medica was that, in its conclusion based on selected portions of medical
documentation and reliance on an after-the-fact medical review, the transport was
not an “emergency” as defined by the Plan.

34. In reaching this conclusion, Medica expressly stated that it was
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759663.5

disregarding the real-time information and conclusions from September 2016, as
well as the Olsens’ views, and instead was relying on a hindsight standard.
35. Medica also concluded that “the air ambulance transport was not an

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‘emergency’ because it was not ‘made or done at once. This also ignored the
real-time urgency and attempt to move the patient on an emergency basis, and
instead focused on the timing that occurred by looking back to the events in
question.

36. The Medica denial was based on an entirely untenable and wholly
unreasonable interpretation of Plan language that is clear and unambiguous

37. The issue is not whether something in hindsight actually was an
emergency, or made or done at once.

38. Rather, the plan language finds an emergency when “a prudent
layperson, who possesses an average knowledge of health medicine, would
believe requires immediate treatment” to avoid further serious harm.

39. Expert testimony is not necessary to make this determination

40. The timing involved between the decision to transport and the
transportation is not relevant.

41. The Olsens as prudent laypersons with average knowledge of health
medicine believed emergency transportation was needed. As prudent laypersons,

they relied on statements and information from healthcare providers prior to the

transport, and had their fears and concerns confirmed after arrival at the new
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facility, that they properly considered the transport an emergency.

42. Even if Medica used the proper standard when it ignored the
“prudent layperson” language, it nevertheless reached a conclusion that is not
reasonable and is not supported by the Plan.

43. In further communications from the Olsens and Medica on August
l6, 2017, in what apparently would have been at least the fourth appeal, the
Olsens specifically referenced the “prudent layperson” standard. This
communication also references a settlement offer. However, it is not being
discussed herein in order to prove liability. It is being referenced to show
Medica’s knowledge and state of mind in continuing to deny the claim and
refusing to apply the prudent layperson standard and consider other issues.

44. Medica still refused to apply the prudent layperson standard.

45. In the March l4, 2017, denial letter, Medica also chose a
reimbursement amount based on a calculation that is wholly unreasonable

46. Medica claims that the Plan allows for four different reimbursement
determinations

47. Medica rejected all other reimbursement options.

48. Instead, Medica chose the following to use in its calculation: “A
nationwide provider reimbursement database that considers prevailing
reimbursement rates and/or marketplace charges for similar services in the

geographic area in which the service is provided.”
8

759663.5

49. However, in the same letter, Medica admitted that “Medica does not
possess a ‘nationwide provider reimbursement database’ for air ambulance
transportation.”

50. In so doing, Medica admitted that the reimbursement method as
adopted was not a reasonable reimbursement method at all.

51. lnstead, Medica calculated what it claimed were, without supporting
information or documentation, rates from two in-network fixed-wing air transport
providers. These are by definition not nationwide and marketplace standards,
which the Plan requires.

52. As a matter of law, in-network contractual agreements cannot serve
as the basis for a calculation based on “usual and customary charges” and/or other
charges intended to be based on nationwide prevailing or marketplace charges.

53. In the claims file, Medica noted that air transportation providers
typically will not discount transport fees by more than 5 percent. Medica also
received detailed billing information from CustomAir and did not refute the
validity of the charges or question whether the charges were consistent with
prevailing marketplace rates.

54. Medica chose not to question the reimbursement amount being
sought in the initial claim or in the first appeal. Rather, it simply chose to deny
coverage entirely.

55. This Court should find that CustomAir’s transport rate was consistent
9

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with a nationwide usual and customary, and/or marketplace standard, or
determine de novo the proper amount of the reimbursement owed to CustomAir
under the Plan.

56. This entire judicial review of Medica’s decisions should be de novo.

57. Medica required multiple appeals during this process, far more than
the one required by the Plan itself.

58. Yet, Medica has demanded that Plaintiff submit yet another appeal.
Medica’s actions are intended to delay and frustrate Plaintiff s goal of obtaining
compensation to which it is entitled under the Plan’s plain language Medica is
also abusing the demand for multiple appeals, by trying to “fix” its prior baseless
denials with new factual and legal analysis, so as to try to withstand judicial
scrutiny.

59. Even if yet another appeal were required under the Plan (it is not),
such further appeal would be futile

60. Medica’s interpretation of the Plan is wholly unreasonable and
entirely inconsistent with the intent and plain meaning of the Plan language

61. The goals of the plan with regard to emergency medical care are to
allow such care when a prudent layperson determines there is an emergency.
Medica instead adopted an after-the-fact review and conclusion. Such an
interpretation would have serious adverse effects on insureds, who must be able to

obtain emergency care, even when what a prudent layperson views as an
10

759663.5

emergency turns out in hindsight not to have been an emergency.

62. Moreover, Medica wholly disregards the “prudent layperson.” This is
contrary to the plain language of the plan.

63. Likewise, Medica’s interpretation of “immediate” and the decision to
rely on a “national database” which it has admitted does not exist, are inconsistent
with the Plan. CustomAir is an express contractual assignee of the claims under
the Plan.

64. On February 23, 2017. Laura Olsen broadly assigned CustomAir all
her legal claims, causes of action and rights involved in bringing this ERISA
Lawsuit.

65. The assignment from Laura Olsen to CustomAir reads in part: “l
authorize and request payment of benefits to be made to CustomAir Ambulance
specifically to include any and all claims, causes of action or claims for relief
available under ERISA and related rules and regulations l intend by this
assignment to put CustomAir in my stead with respect to such claims such that
CustomAir shall have derivative standing as an assignee of my ERISA claims
including, without limitation, claims for breach of fiduciary duty and any other

legal and/or administrative claims.”

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FIRST CLAIM FOR RELIEF

(Wrongful Denial of Benefits Under an ERISA Plan Pursuant to 29 U.S.C.
§] 132(a)gl ){`Bll

66. All prior paragraphs are hereby re-alleged.

67. Laura Olsen is a Plan beneficiary who timely submitted a claim and
exhausted all her administrative appeal(s).

68. Laura Olsen is entitled to certain denied Plan benefits

69. Laura Olsen incurred Plan-covered, emergency ambulance expenses
which Defendants did not consider or pay under the express terms of the Plan.

70. The non-network provider reimbursement amount, based on in-
network contracts when the Plan requires nationwide, marketplace calculations, is
arbitrary and capricious and an abuse of discretion, if the Court decides to apply
that standard.

71. The Plan terms are clear and unambiguous To the extent that Plan
terms are found to be ambiguous, Defendants must be estopped from interpreting
Plan language as to deny claims Medica approved and pre-authorized the medical
transport as emergent.

72. CustomAir is the assignee of Laura Olsen’s legal claims

73. Medica and Lund control and direct the Plan and its payments

74. Medica and/or Lund are in breach of the terms of the Plan in

violation of 29 U.S.C. §1132(a)(1)(B) and Plaintiff has been harmed.

12

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75. Plaintiff is entitled to payment pursuant to the Plan terms
SECOND CLAIM FOR RELIEF
(Claim in the Altcrnative for a Remedv for Breach of Fiduciarv Duty under
ERISA as provided for by 29 U.S.C. 81132(21)(3))

76. In the alternative to the theory of relief set forth in Count I, Plaintiff
restates and re-alleges the allegations contained in the foregoing paragraphs

77. Medica is the Plan administrator and a Plan fiduciary.

78. Medica owed the Plan insured and the beneficiary fiduciary duties in
the manner it considered claims and appeals

79. Medica made the determinations as alleged herein.

80. Medica owed fiduciary duties to act solely in the interests of plan
participants and beneficiaries, like Laura Olsen, for the purpose of providing
benefits under the Plan and to do so using that degree of care, skill, and diligence
of a prudent person as required by 29 U.S.C. § 1104(a)(1).

81. Medica breached the fiduciary duties it owed to Laura Olsen by: (a)
approving and preauthorizing the beneficiary’s flight as emergent; (b) not denying
the initial claim and first appeal on grounds that the flight was not emergent; (c)
later denying the claim on a second appeal / request for reconsideration on the
conclusion that the transport was not emergent; (d) refusing to apply the “prudent

layperson” standard as set forth by the Plan; and (e) calculating the reimbursable

13

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amount by claiming to use a nationwide marketplace standard, but then instead
using costs of in-network providers

82. CustomAir is the assignee of claims for breach of fiduciary duty.

83. Laura Olsen and, thus, CustomAir have been damaged by Medica’s
breaches of its fiduciary duties and request relief pursuant to 29 U.S.C.
§1132(a)(3).

THIRD CLAIM FOR RELIEF

Uuitab|e estoppel as a form of relief under the federal common law of
ERISA pursuant to 29 U.S.C. 51132(3)(3))

84. All prior paragraphs are re-alleged.

85. Medica preauthorized and preapproved Laura Olsen’s fixed-wing
transport.

86. Medica agreed at the outset, on the same information it later
reviewed, that the transport was emergent.

87. Medica did not express any limitation as to coverage or identify any
limitation as to reimbursable cost.

88. Medica was acting on its own behalf and as an agent of the other
Defendants.

89. Defendants, by their actions and CustomAir’s express and
unambiguous reliance on the assurance of full payment, are estopped to deny that

the transport was emergent.

14

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WHEREFORE, having made the above allegations, Plaintiff appeals to this
Court for:
A. Benefits due or other appropriate equitable relief as provided for by
ERISA in an amount to be proved;
B. Costs and attorneys’ fees pursuant to 29 U.S.C. § 1132(g);
C. Injunctive relief to estop and prevent Defendants from denying the
claim made under the Plan herein;
D. Pre- and post-judgment interest in the highest lawful rate; and
E. Such other and further relief as the Court may allow.
Dated: November 21, 2017

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